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1    NICHOLAS A. TRUTANICH
     United States Attorney
2    Nevada Bar Number 13644
     JARED L. GRIMMER
3    Assistant United States Attorney
     501 Las Vegas Boulevard South, Suite 1100
4    Las Vegas, Nevada 89101
     Telephone: 702-388-6336
5    jared.l.grimmer@usdoj.gov

6    Attorneys for Plaintiff
     The United States of America
7
                                    UNITED STATES DISTRICT COURT
8                                        DISTRICT OF NEVADA
9    UNITED STATES OF AMERICA,                           Case No. 2:20-mj-1110-BNW-NJK-XXX

10                  Plaintiff,                           Stipulation to Extend
                                                         Deadlines to Conduct
11          v.                                           Preliminary Hearing and
                                                         File Indictment (First Request)
12   GERARDO RIVERA-ROSALES,

13                 Defendant.

14

15          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.

16   Trutanich, United States Attorney, and Jared L. Grimmer, Assistant United States

17   Attorney, counsel for the United States of America, and Raquel Lazo, Assistant Federal

18   Public Defender, counsel for Defendant GERARDO RIVERA-ROSALES, that the Court

19   schedule the preliminary hearing in this case for no earlier than 90 days from the date of

20   the filing of this stipulation. This request requires that the Court extend two deadlines: (1)

21   that a preliminary hearing be conducted within 14 days of a detained defendant’s initial

22   appearance, see Fed. R. Crim. P. 5.1(c); and (2) that an information or indictment be filed

23   within 30 days of a defendant’s arrest, see 18 U.S.C. § 3161(b).

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1            This stipulation is entered into for the following reasons:

2            1.       The United States Attorney’s Office has developed an early disposition

3    program for immigration cases, authorized by the Attorney General pursuant to the

4    PROTECT ACT of 2003, Pub. L. 108-21.

5            2.       The early disposition program for immigration cases is designed to: (1)

6    reduce the number of hearings required in order to dispose of a criminal case; (2) avoid

7    having more cases added to the court’s trial calendar, while still discharging the

8    government’s duty to prosecute federal crimes; (3) reduce the amount of time between

9    complaint and sentencing; and (4) avoid adding significant time to the grand jury calendar

10   to seek indictments in immigration cases, which in turn reduces court costs.

11           3.       The government has made a plea offer in this case that requires defendant to

12   waive specific rights and hearings in exchange for “fast-track” downward departure under

13   USSG § 5K3.1. This offer will be withdrawn if it is not timely accepted before this matter is

14   indicted and before a preliminary hearing is held.

15           4.       Under Federal Rule of Criminal Procedure 5.1(c), the Court “must hold the

16   preliminary hearing within a reasonable time, but no later than 14 days after the initial

17   appearance if the defendant is in custody . . . .”

18           5.       However, under Rule 5.1(d), “[w]ith the defendant’s consent and upon a

19   showing of good cause—taking into account the public interest in the prompt disposition of

20   criminal cases—a magistrate judge may extend the time limits in Rule 5.1(c) one or more

21   times . . . .”

22           6.       Furthermore, under the Speedy Trial Act, 18 U.S.C. § 3161(b), “[a]ny

23   information or indictment charging an individual with the commission of an offense shall

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1    be filed within thirty days from the date on which such individual was arrested or served

2    with a summons in connection with such charges.”

3           7.      Defendant needs additional time to review the discovery and investigate

4    potential defenses to make an informed decision as to how to proceed, including whether

5    to accept the fast-track plea agreement.

6           8.      Accordingly, the parties jointly request that the Court schedule the

7    preliminary hearing in this case no sooner than 90 days from today’s date.

8           9.      Defendant is in custody and agrees to the extension of the 14-day deadline

9    imposed by Rule 5.1(c) and waives any right to remedies under Rule 5.1(c) or 18 U.S.C.

10   § 3161(b), provided that the information or indictment is filed on or before the date ordered

11   pursuant to this stipulation .

12          10.     The parties agree to the extension of that deadline.

13          11.     This extension supports the public interest in the prompt disposition of

14   criminal cases by permitting defendant to consider entering into a plea agreement under the

15   United States Attorney’s Office’s fast-track program for § 1326 defendants.

16          12.     Accordingly, the additional time requested by this stipulation is allowed

17   under Federal Rule of Criminal Procedure 5.1(d).

18          13.     In addition, the parties stipulate and agree that the time between today and

19   the scheduled preliminary hearing is excludable in computing the time within which the

20   defendant must be indicted and the trial herein must commence pursuant to the Speedy

21   Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), considering the factors under 18 U.S.C.

22   § 3161(h)(7)(B)(i) and (iv).

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1           14.    This is the first request for an extension of the deadlines by which to conduct

2    the preliminary hearing and to file an indictment.

3           DATED this 6th day of January, 2021.

4                                                   Respectfully submitted,

5                                                   NICHOLAS A. TRUTANICH
                                                    United States Attorney
6
                                                                //s//
7                                                   JARED L. GRIMMER
      Assistant Federal
          stant Fed     Public Defender
                  deral P                           Assistant United States Attorney
8     Counsel for Defendant GERARDO
      RIVERA-ROSALES
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2                      UNITED STATES DISTRICT COURT
3                           DISTRICT OF NEVADA

4    UNITED STATES OF AMERICA,                         Case No. 2:20-mj-1110-BNW NJK

5                   Plaintiff,                         [Proposed] Order on Stipulation
                                                       to Extend Deadlines to Conduct
6           v.                                         Preliminary Hearing and
                                                       File Indictment
7    GERARDO RIVERA-ROSALES,

8                  Defendant.

9

10          Based on the stipulation of counsel, good cause appearing, and the best interest of

11   justice being served; the time requested by this stipulation being excludable in computing

12   the time within which the defendant must be indicted and the trial herein must commence

13   pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of

14   Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):

15      TheIT IS THEREFORE
            preliminary hearing ORDERED     that the preliminary
                                is hereby CONTINUED              hearing
                                                         to 4:00 p.m. on currently scheduled
                                                                         April 19, 2021.
     Judge Koppe will now be presiding over the preliminary hearing.
16   onIS
     IT ___________________,
          SO ORDERED.         2020 at the hour of 4:00 p.m., be vacated and continued to

17   __________________________ at the hour of __________.

18         DATEDJanuary
           Dated: this ___11,
                           day2021
                               of January, 2021.

19

20                                             HONORABLE
                                               Nancy  J. Koppe BRENDA N. WEKSLER
                                               UNITED     STATES
                                               United States      MAGISTRATE
                                                             Magistrate Judge JUDGE
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